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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                               COLUMBIA DIVISION

 THE SOUTH CAROLINA STATE
 CONFERENCE OF THE NAACP,

 and                                                 Case No. 3:21-cv-03302-MGL-TJH-RMG

 TAIWAN SCOTT, on behalf of himself and all
 other similarly situated persons,                          THREE-JUDGE PANEL

                           Plaintiffs,

             v.                                       HOUSE DEFENDANTS’ MOTION
                                                        FOR ORDER CONFIRMING
 THOMAS C. ALEXANDER, in his official               CONFIDENTIALITY DESIGNATIONS
 capacity as President of the Senate; LUKE A.       OF DEPOSITION TRANSCRIPTS AND
 RANKIN, in his official capacity as Chairman                  EXHIBITS
 of the Senate Judiciary Committee; JAMES H.
 LUCAS, in his official capacity as Speaker of
 the House of Representatives; CHRIS
 MURPHY, in his official capacity as Chairman
 of the House of Representatives Judiciary
 Committee; WALLACE H. JORDAN, in his
 official capacity as Chairman of the House of
 Representatives Elections Law Subcommittee;
 HOWARD KNAPP, in his official capacity as
 interim Executive Director of the South
 Carolina State Election Commission; JOHN
 WELLS, Chair, JOANNE DAY,
 CLIFFORD J. EDLER, LINDA MCCALL,
 and SCOTT MOSELEY, in their official
 capacities as members of the South Carolina
 Election Commission,

                           Defendants.


       Defendants James H. Lucas (in his official capacity as Speaker of the South Carolina House

of Representatives), Chris Murphy (in his official capacity as Chairman of the South Carolina

House of Representatives Judiciary Committee), and Wallace H. Jordan (in his official capacity as

Chairman of the South Carolina House of Representatives Redistricting Ad Hoc Committee)



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(collectively, the “House Defendants”), by and through their undersigned counsel, hereby move

to confirm confidentiality designations pursuant to Paragraph 8(b) of the Consent Confidentiality

Order [ECF No. 123].

                               PROCEDURAL BACKGROUND

       On February 3, 2022, the Honorable J. Michelle Childs, a former member of this Panel,

entered a Consent Confidentiality Order (hereinafter “Confidentiality Order”) on agreement of

the parties “for the purpose of facilitating discovery.” [ECF No. 123 at ¶ 11]. Since the entry of

the Confidentiality Order, Plaintiffs and House Defendants have engaged in document discovery

and taken numerous depositions. Document discovery began in January of this year. Both parties

have designated documents as confidential. In fact, Plaintiffs have designated as confidential all

but one document from their productions. Until the challenges referenced herein, no confidentiality

designations have been challenged by any party.1

       Pursuant to the Confidentiality Order, House Defendants made confidentiality designations

upon receipt of the official deposition transcripts of House members and staff. On May 11, 2022,

which was within five days of House Defendants’ receipt of the official transcripts, House

Defendants sent two letters to Plaintiffs’ counsel that contained confidentiality designations for

the transcripts of Chairman Murphy’s and Thomas Hauger’s depositions related to the House



1
  Plaintiffs appear to have a novel view of the Confidentiality Order. They have not challenged a
single “CONFIDENTIAL” designation on a document, but now challenge the confidentiality
designations of certain documents only after Plaintiffs’ counsel introduced them as exhibits in
depositions. They also challenge the confidentiality designations of the related deposition
transcripts, but do not challenge the confidentiality designations of other, related documents. They
appear to believe that just because a document has been ruled to be discoverable and related to the
legislative process, it is not confidential. That is not the case and not the proper process under the
Confidentiality Order. This is all despite the fact that Plaintiffs marked all but one document they
produced as “CONFIDENTIAL” (none of which have yet been challenged), but then failed to
provide any confidentiality designations for any of the depositions conducted thus far by other
parties of witnesses aligned with the Plaintiffs.

                                                  2
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district litigation. Late on Friday, May 13, 2022, Plaintiffs’ counsel responded with two letters

challenging nearly all the confidentiality designations made by House Defendants.2 On Monday,

May 16, 2022, the first business day after receiving the letters from Plaintiffs’ counsel, House

Defendants responded and set forth their interpretation of the Confidentiality Order and related

law, including why their designations (if not the entire deposition transcripts) should remain

confidential. House Defendants also proposed a meet and confer on the issue. On May 17, 2022,

House Defendants sent two additional letters containing confidentiality designations for the

transcripts of Speaker Lucas’s and Emma Dean’s depositions related to the House district

litigation. Plaintiffs’ counsel responded with similar challenges to those designations. Again,

Plaintiffs’ counsel never objected to a confidentiality designation for any of the documents in

House Defendants’ productions, let alone the ones Plaintiffs’ counsel chose to use as exhibits in

the relevant depositions.

       On May 18, 2022, House Defendants and Plaintiffs entered into a joint stipulation and

agreed “that the five-day deadline to move for an Order confirming confidentiality designations,

as provided for in Paragraph 8(b) of the Confidentiality Order [ECF No. 123], shall be tolled while

the legislative process related to the enactment of the Settlement Maps remains ongoing.” [ECF

No. 270 at 2]. The joint stipulation was valid until the “enactment of the Settlement Maps or July

31, 2022, whichever [was] earlier.” Id. The Settlement Maps were signed into law by Governor

McMaster on June 17, 2022 and were enacted in Act No. 226 on June 28, 2022.




2
  House Defendants remain puzzled as to why Plaintiffs’ counsel insist on challenging
confidentiality designations for depositions related to the House Districts enacted in Act No. 117.
As this Panel is aware, Plaintiffs are no longer challenging those House Districts. And, as the
parties are currently engaged in discovery on the Challenged Congressional Districts, Plaintiffs
have the opportunity to take additional depositions relevant to the Congressional plan if they so
choose.

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         Then, late in the afternoon on July 1, 2022, Plaintiffs’ counsel sent an email purporting to

provide written notice of challenges to House Defendants’ confidentiality designations. With this

email, Plaintiffs’ counsel attempted to start the clock on the five-day time period for House

Defendants to move for an Order confirming the confidentiality designations and told House

Defendants’ counsel that the “ball is in your court.” House Defendants disputed that this email

constituted proper written notice and questioned the timing of this email, which was sent on the

eve of the July 4th holiday weekend. Plaintiffs’ counsel agreed to toll House Defendants’ deadline

to move for an Order and further agreed to discuss the matter.

         Counsel for House Defendants and Plaintiffs participated in a meet and confer on July 8,

2022, but were unable to resolve their differences on this issue. During this meet and confer,

Plaintiffs’ counsel suggested that the public should have access to all of the depositions and

documents that deal with the legislative process. House Defendants strongly disagreed and sent a

follow-up letter to Plaintiffs’ counsel on July 11, 2022, which detailed the positions outlined in

this Motion and requested that Plaintiffs withdraw their challenges to House Defendants’

confidentiality designations. It appears that Plaintiffs’ counsel views this Court’s ruling allowing

for the discovery of documents and information that would otherwise be subject to legislative

privilege3 as conclusively resolving a separate and distinct issue—namely, whether these normally

privileged documents and information related thereto should remain confidential despite the fact

that the Court has only allowed an intrusion into that privilege for the limited purposes addressed

in the Court’s Order concerning legislative privilege.4



3
    See ECF No. 153.

4
 On July 26, 2022, House Defendants and Senate Defendants, with the consent of the Election
Defendants, jointly moved for a separate Confidentiality Order [ECF No. 308] that expressly
covers legislatively privileged materials, including the depositions and exhibits with

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       On July 11, 2022 and July 21, 2022, House Defendants sent additional letters regarding the

depositions of Speaker Lucas, Chairman Murphy, Representative Newton, and Emma Dean. All

parties participated in a meet and confer on July 22, 2022, but Plaintiffs’ counsel remained

unwilling to withdraw their challenges to the confidentiality designations of both the deposition

transcripts and exhibits, apparently remaining steadfast in their belief that if they can discover

legislatively privileged documents and information, then such documents and information are

entitled to no protection at all. Plaintiffs agreed to toll the five-day deadline associated with the

instant Motion until August 1, 2022, and while House Defendants attempted to avoid judicial

intervention on the issue of confidentiality designations, they are now compelled to file this Motion

because Plaintiffs continue to challenge these confidentiality designations.

       As noted above, Plaintiffs have not challenged any of House Defendants’ confidentiality

designations associated with the production of documents. Instead, they have taken the position

that because the documents were either introduced as exhibits or discussed during a deposition,

they lose their confidential status and related protection, and the portions of transcripts in which

they are discussed are per se non-confidential. Obviously, the introduction or discussion of

confidential material in a deposition does not render the material non-confidential. In addition, the

Court’s prior ruling on legislative privilege does not vitiate the confidential status of all documents

produced by House Defendants and all related testimony elicited from witnesses. Put simply, the

positions taken by Plaintiffs that necessitated the filing of this Motion are wasteful of both

counsels’ and the Court’s resources at a time when all of the parties are attempting to complete



confidentiality designations at issue in this Motion. While briefing has not yet concluded on that
Motion, the Panel has ordered an expedited response from Plaintiffs. If the Panel ultimately issues
a separate Confidentiality Order covering legislatively privileged materials, many (if not most) of
the designations at issue herein would also be covered by that Order.


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discovery and to prepare for a quickly approaching trial—particularly when the issues addressed

herein have nothing to do with the admissibility of the documents and testimony at issue.5

                                          ARGUMENT

       On February 10, 2022, this Court ordered House Defendants to produce documents that

would otherwise be subject to the legislative privilege. [ECF No. 153]. The Court reasoned that

because Plaintiffs had alleged violations of constitutional rights, and because legislatively

privileged information was relevant for Plaintiffs to prove their case, Plaintiffs were entitled to

discover material that was otherwise legislatively privileged. See id. (citing Bethune-Hill v. Va.

State Bd. Of Elections, 114 F. Supp. 3d 323, 337 (E.D. Va. 2015) (the application of the “Bethune-

Hill factors” weighed in favor of compelled disclosure of otherwise legislatively privileged

documents for the purposes of discovery). While that ruling is significant, it does not alter state

statutes concerning the confidential nature of the documents at issue. Moreover, it did not strip the

confidential status from documents that were produced by House Defendants and appropriately

designated as confidential—specifically, documents and testimony subject to the South Carolina

Freedom of Information Act (S.C. Code Ann. § 30-4-10 et al., hereinafter “South Carolina

FOIA”).

    A. House Defendants’ Confidentiality Designations Are Proper Under the
       Confidentiality Order and Are Exempt from Disclosure Under the South Carolina
       FOIA.

       House Defendants maintain that all of their confidentiality designations associated with the

depositions of Speaker Lucas, Chairman Murphy, Representative Newton, Ms. Dean, and Mr.



5
  During their meet and confers, the parties discussed the possibility of jointly agreeing to delay
any litigation related to confidentiality designations until after the upcoming trial given the
truncated schedule and the limited time period between the close of discovery and the beginning
of trial. Plaintiffs ultimately declined to agree to this proposal. However, House Defendants have
no objection to the Court staying briefing on these issues until after the conclusion of trial.

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Hauger are proper under the Confidentiality Order. [ECF No. 123]. Paragraph 3 of the

Confidentiality Order specifies when documents may be designated as confidential and allows a

party to “designate documents as confidential but only after review of the documents by an

attorney who has, in good faith, determined that the documents contain information protected from

disclosure by statute, . . .” among other things. Id. at ¶ 3. As House Defendants’ counsel explained

during multiple meet and confer sessions and in letters to Plaintiffs’ counsel, the South Carolina

FOIA provides the right to inspect or copy public records, subject to specific exceptions that are

exempted from disclosure. These statutory exemptions include the following:

           1. Legislative material including memoranda, correspondence, and working papers
              in the possession of individual members of the General Assembly or their
              immediate staffs;
           2. Personal material including information of a personal nature where the public
              disclosure thereof would constitute unreasonable invasion of personal privacy; and
           3. Legal material including correspondence or work products of legal counsel and
              any other material that would violate attorney-client relationships.

See S.C. Code Ann. § 30-4-40 (setting forth matters exempt from disclosure).

       These exemptions “allow public agencies the discretion to withhold exempted materials

from public disclosure.” Burton v. York Cnty. Sheriff’s Dep’t, 358 S.C. 339, 348, 594 S.E.2d 888,

893 (Ct. App. 2004). The “determination of whether documents or portions thereof are exempt

from the FOIA must be made on a case-by-case basis.” Id. (citing City of Columbia v. ACLU, 323

S.C. 384, 475 S.E.2d 747 (1996); Newberry Publ’g Co. v. Newberry County Comm’n on Alcohol

& Drug Abuse, 308 S.C. 352, 417 S.E.2d 870 (1992)).

       After carefully reviewing each deposition transcript and the related exhibits, House

Defendants made confidentiality designations on a case-by-case basis. Because the portions of




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deposition transcripts6 and exhibits that were designated as confidential each fit within one of these

three statutory exemptions, the designations are all proper and should be confirmed.

           a. Legislative Material

       First, the South Carolina FOIA expressly exempts from disclosure “[m]emoranda,

correspondence, and working papers in the possession of individual members of the General

Assembly or their immediate staffs . . .” S.C. Code Ann. § 30-4-40(a)(8). This would include the

internal emails and files from House members and their staff, all of which were designated as

confidential. Furthermore, these documents are also protected by legislative privilege and were

only produced as a result of this Court’s Order. See ECF No. 153. The fact that the Panel held that

these documents were discoverable is not tantamount to a ruling that the documents are entitled to

no protection at all. In fact, the Court’s February 10, 2022 Order [ECF No. 153] (which was

incorporated into the Panel’s July 8, 2022 Order) specifically noted that the “court must be wary

of any intrusion which subjects legislators to unnecessary and burdensome disclosure requirements

and detracts from their representative functions.” [ECF No. 153 at 15]. Thus, while such

legislatively privileged material may be discoverable, it is nonetheless confidential. Indeed, any

use of these depositions or the related exhibits outside of this litigation would constitute an

unnecessary intrusion into the legislative process.

       The Confidentiality Order also covers research, development, or commercial information.

While the Confidentiality Order does not expressly cover legislative information, House

Defendants submit that this language, which is normally used in the business context, is directly



6
 Further, deposition transcripts are not public documents that are part of the public process.
Legislators and staff sat for depositions based on this Panel’s Orders regarding legislative
privilege. [ECF Nos. 153 and 299]. The deposition transcripts themselves were then ordered by
counsel at substantial cost. These transcripts remain in the possession of counsel and, therefore,
should not be publicized.

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analogous to materials that would be covered by legislative privilege in the legislative context.

         During the depositions of legislators and staff, Plaintiffs’ counsel extensively questioned

deponents about the legislative process and introduced numerous exhibits that contained

confidential markings because they are internal legislative documents.7 Plaintiffs’ counsel inquired

about conversations between and among House members, including Speaker Lucas, Chairman

Jordan, Chairman Murphy, and the members of the Redistricting Ad Hoc Committee and between

House Members and legislative staff, including Patrick Dennis, Emma Dean, and Thomas Hauger.

Among the questions asked and areas explored were the development of the Redistricting Ad Hoc

Committee’s criteria and guidelines, map room policies and procedures, the internal map room

process, and discussions surrounding the legislative process. This is internal legislative

correspondence between individual members, between members and staff, and between legislative

staff.

         In addition, the exhibits that have been marked confidential are memoranda and working

papers of the House members and their legislative staff. These documents are not publicly

available documents and would not be available under a South Carolina FOIA request. Such

documents include internal House emails between House members and staff, legislators’ notes,



7
  As noted above, given the positions taken by Plaintiffs during multiple meet and confers, House
Defendants and Senate Defendants, with the consent of the Election Defendants, jointly moved for
a separate Confidentiality Order on July 26, 2022 [ECF No. 308]. The proposed Confidentiality
Order expressly covers legislatively privileged materials, including depositions of legislators and
legislative staff and documents that were produced pursuant to the Orders [ECF Nos. 153 and 299]
requiring the disclosure of legislatively privileged materials. The Court has directed Plaintiffs to
file a response to that Motion by August 3, 2022. If the Court grants that Motion and issues the
proposed Confidentiality Order, then House Defendants will immediately invoke the protections
of that Order by designating the vast majority of materials challenged herein as confidential under
that Confidentiality Order as well. And, while Plaintiffs could then conceivably challenge some
portion of those designations, such a process may well eliminate a substantial portion of the
challenged designations and obviate the need for the laborious review of all of the transcripts and
documents that are at issue in this Motion.

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 personal text message and email communications, and other internal documents that Plaintiffs have

 only received as a result of the Panel’s Orders. [ECF Nos. 153 and 299]. These documents are

 protected from disclosure under the South Carolina FOIA and are, therefore, properly designated

 as confidential under the current Confidentiality Order. [ECF No. 123].

         While House Defendants have reviewed each of these designations and made

 individualized determinations, it would be incredibly burdensome on the Court and House

 Defendants to explain each individual designation through briefing. Therefore, in light of the sheer

 volume of Plaintiffs’ challenges, House Defendants have categorized each confidentiality

 designation under one of the statutory exemptions discussed above. House Defendants also request

 leave to discuss certain designations that might be at issue during oral argument after the Panel has

 had the opportunity to conduct an in camera review of the designated material.

         The following confidentiality designations8 are statutorily exempt because they each

 constitute correspondence, working papers, or memoranda of House members and legislative staff:

        Emma Dean (House)
           o Exhibits 3, 4, and 8-13
           o 148:21 – 153:8, 163:4 – 211:3, 217:21 – 228:4, 234:23 – 254:21, 257:5 – 272:18
        Emma Dean (Congressional)
           o Exhibits 1, 3-6, and 8-9
           o 20:10-23, 25:10 – 34:24, 37:2 – 40:4, 55:23 – 60:22, 62:21 – 68:21; 70:10 – 80:14;
               83:14 – 86:22, 89:17 – 95:15, 96:21 – 101:15, 108:25 – 111:16, 112:10 – 120:10
        Weston Newton (Congressional)
           o 27:15 – 30:21, 34:3–21, 70:14 – 73:10, 75:24 – 76:1, 76:23 – 77:15, 80:25 – 81:13,
               97:2–7, 134:24 – 136:16, 153:11–17, 164:23–24, 166:24 – 167:12, 190:15-22



 8
   The transcripts and exhibits at issue will be submitted to the Panel for an in camera review. Due
 to the size of the files containing the transcripts and exhibits, House Defendants intend to submit
 the files to Chambers on a flash drive. As explained in House Defendants’ Motion for Leave to
 Submit Deposition Materials for In Camera Review, [ECF No. 313], House Defendants intend to
 hand deliver separate flash drives to Judge Lewis and Judge Gergel, and mail one to Judge Heytens.
 If the Panel has a different preference, House Defendants will of course proceed as instructed by
 the Panel. House Defendants do, however, believe their suggested method of delivery will be the
 most efficient way to provide this voluminous material to the Panel for in camera review.

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       Chris Murphy (House)
            o Exhibits 3, 5, and 15
            o 98:10 – 24, 102:5 – 9, 110:24, 121:18 – 123:13, 144:21 – 150:12, 271:18 – 274:2,
               291:25 – 292:4, 292:12 – 15, 291:25 – 292:4, 292:12 – 15
       Chris Murphy (Congress)
            o Exhibits 1-3 and 6
            o 22:16 – 24:10, 24:18 – 25:17, 41:6 – 43:16, 50:11 – 51:21, 84:5 – 87:15, 109:18-
               22, 110:3
       Jay Lucas (House)
            o Exhibits 15, 16, 18, 19, 21, 22, 24, 25, 32, 34, 36, 37, and 42
            o 43:6-44:18, 60:9-61:14, 62:8-75:10, 116:1-119:22, 127:1-132:8, 136:17-139:6,
               140:9-145:16, 152:18-156:14, 161:9-162:3, 164:2-165:13, 168:1-169:2, 175:5-
               179:3, 187:11-188:18, 199:4-199:24, 201:15-202:3, 206:14-207:16, 213:2-214:24,
               Index page 21
       Jay Lucas (Congressional)
            o Exhibits 13, 14, and 16
            o 18:3 – 19:22, 20:4 – 22:25, 23:17 – 34:25, 35:6 – 36:17, 39:11 – 40:7, 42:14 – 24,
               46:13 – 21, 64:20 – 21, 71:20 – 23, 98:11 – 16, 101:8 – 101:15, 105:4 – 107:11,
               108:11 – 18, 109:12 – 110:4, 110:8 – 111:7, 116:24 – 120:13, 120:20 – 121:3, 123:7
               – 14, 123:20 – 124:6
            o Index page 13
       Thomas Hauger (House)
            o Exhibits 1, 2, 5, 7 – 16
            o 27:15 – 30:21, 36:3 – 37:17, 98:21 – 100:12, 106:8 – 106:21, 109:15 – 110:21,
               111:9 – 112:23, 114:5 – 116:17, 132:6 – 141:4, 151:13 – 152:20, 157:12 – 158:13,
               167:18 – 170:19
       Thomas Hauger (Congressional)
            o Exhibits 1, 3, 6 – 10
            o 21:7 – 29:8, 29:19 – 31:1, 32:2 – 35:18, 39:20-22, 42:4 – 49:25, 51:11 – 52:11,
               55:24 – 57:6, 58:5 – 79:10, 80:1 – 81:9, 82:2 – 89:13, 89:25 – 94:1, 95:5-11, 99:5
               – 118:13, 122:19 – 123:12, 126:9 – 129:14, 130:15 – 144:8

        House Defendants note that if a newspaper sent a FOIA request to the South Carolina

 House of Representatives for the documents at issue (and/or for the portions of the transcripts

 specified above), the legislative privilege and South Carolina FOIA exemptions would apply. The

 House of Representatives would assert this FOIA exemption and refuse to comply with the

 newspaper’s request because the underlying information, which is not part of the public record, is

 comprised of internal communications of legislators and staff.




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         While House Defendants respectfully disagree with the Panel’s rulings on the

 discoverability of legislative privilege, the fact remains that Plaintiffs have received otherwise

 privileged documents and information through discovery strictly as a result of these rulings. In

 addition, while Plaintiffs also received other documents and information covered by the South

 Carolina FOIA exemptions (for example, personal information), that information is likewise not

 publicly available and Plaintiffs received it strictly because it is generally discoverable in litigation.

 That being said, given the South Carolina FOIA exemptions and the provisions of the existing

 Confidentiality Order, these documents are confidential and the testimony concerning them should

 be treated as such.

             b. Personal Material

         The South Carolina FOIA also exempts from disclosure “[i]nformation of a personal nature

 where the public disclosure thereof would constitute unreasonable invasion of personal privacy.”

 S.C. Code Ann. § 30-4-40(a)(2). Because this exemption does not specifically list or define the

 types of records, reports, or other information that should be classified as personal or private

 information, general privacy principles must be applied, and the interest of the individual’s privacy

 must be balanced against the interest of the public’s need to know. See Burton v. York Cnty.

 Sheriff’s Dep’t, 358 S.C. 339, 352, 594 S.E.2d 888, 895 (Ct. App. 2004). The South Carolina

 Supreme Court has defined the “right to privacy” as the right of an individual to be left alone and

 to live a life free from unwarranted publicity. Sloan v. South Carolina Dep’t of Pub. Safety, 355

 S.C. 321, 586 S.E.2d 108 (2003).

         The South Carolina Court of Appeals has held that information such as “home addresses,

 personal telephone numbers, and personal email addresses are ‘[i]nformation of a personal nature

 where the public disclosure thereof would constitute unreasonable invasion of personal privacy

 and are exempt from disclosure under section 30-4-40(a)(2).’” Glassmeyer v. City of Columbia,

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 414 S.C. 213, 223, 777 S.E.2d 835, 840 (Ct. App. 2015). Under this exemption, “the public body

 must determine whether the information requested is personal and whether disclosure would

 constitute an unreasonable invasion of personal privacy.” S.C. Lottery Comm’n v. Glassmeyer, 433

 S.C. 244, 251, 857 S.E.2d 889, 893 (2021). In addition, the “reason for requesting the information

 is important for the circuit court to consider in its determination of whether the exemption applies.”

 Id. at 253, 857 S.E.2d at 894.

        Among House Defendants’ confidentiality designations is correspondence that includes

 personal email addresses, personal text messages, and other personal information. The disclosure

 of these documents and information would constitute an unreasonable invasion into the privacy of

 House members and their staff. In addition, House Defendants have designated portions of

 depositions that discuss personal health issues of certain House members. Notwithstanding that

 the Confidentiality Order specifically allows “sensitive personal information” to be designated as

 confidential, [ECF No. 123 at ¶ 3], such information is separately exempt from disclosure under

 this South Carolina FOIA provision.

        Plaintiffs have also failed to provide an adequate explanation as to why they are seeking to

 strip confidentiality protections from documents and information that they already have access to

 through discovery, especially when considering that Plaintiffs have the ability to fully use the

 information for the purposes of this litigation at trial. Because Plaintiffs have not, and cannot,

 provide an adequate explanation, House Defendants’ right to privacy outweighs Plaintiffs’ desire

 to unjustifiably and unreasonably intrude into the privacy of House members and staff.

        The following confidentiality designations should be confirmed because they each fall

 under this statutory exemption as information of a personal nature:

               Emma Dean (Congressional)
                  o Exhibit 9 (contains names, emails, and phone numbers of members of the


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                       members of the public who signed up to testify at public hearings)
               Weston Newton (Congressional)
                    o Exhibits 4 & 5
                    o 20:1, 69:9–12, 92:19–25, 97:11–13, 122:4 – 134:4, 134:4–10, 192:19 –
                       193:20, 196:19–20, 197:19–21, 201:3–4, 206:25 – 207:1, 207:8 – 208:17
               Chris Murphy (House)
                    o Exhibit 13
                    o 5:14 – 24, 47:8 – 49:20, 54:19, 62:8, 201:20 – 267:11, 276:3 – 280:5, 283:11
                       – 284:7, 293:22 – 24, Index pages 19, 21, and 22
               Chris Murphy (Congress)
                    o Exhibit 2
                    o 5:8-17, 38:21-24, 40:5-15, 41:6 – 43:16, 84:5 – 87:15, 99:21 – 100:10,
                       109:18-22
               Jay Lucas (House)
                    o Exhibit 11
                    o 213:2-214:24, Index page 21
               Jay Lucas (Congressional)
                    o Exhibit 16
                    o 54:14 – 55:13, 116:24 – 120:13, 120:20 – 121:3
                    o Index page 13
               Thomas Hauger (Congressional)
                    o Exhibit 3

            c. Legal Material

        Finally, House Defendants have designated as confidential portions of the depositions that

 include a series of questions where Plaintiffs’ counsel attempted to improperly intrude into the

 attorney-client relationship by directly questioning witnesses about Nexsen Pruet’s legal advice to

 their clients. House Defendants’ counsel objected to nearly every question on this topic. These

 designations are proper because the South Carolina FOIA also expressly exempts from disclosure

 “[c]orrespondence or work products of legal counsel for a public body and any other material that

 would violate attorney-client relationships.” S.C. Code Ann. § 30-4-40(a)(7). Public disclosure of

 such information discussed in depositions would violate the attorney-client relationship between

 House Defendants’ and their counsel.

        Plaintiffs have deposed Emma Dean, Chief Counsel to the House Judiciary Committee, in

 both the House district and Congressional district litigation. In that role, Ms. Dean is an attorney


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 to the Judiciary Committee and its subcommittees, including the House Redistricting Ad Hoc

 Committee. Thus, Ms. Dean provides legal advice to her clients that include Chairman Murphy,

 Chairman Jordan, and Representative Newton, each of whom have also been deposed.

        During the depositions of legislators and staff attorneys, Plaintiffs’ counsel attempted to

 inquire about the legal advice provided by staff attorneys and by outside counsel. In nearly every

 deposition conducted thus far, Plaintiffs’ attorneys have inquired about communications between

 legislators, staff, and staff counsel, which includes Ms. Dean, Patrick Dennis (General Counsel to

 the House of Representatives), Roland Franklin (Assistant Chief Counsel to the Judiciary

 Committee), and James “Jimmy” Hinson (Assistant Chief Counsel to the Judiciary Committee).

 For example, Plaintiffs’ counsel has asked nearly every deponent about legal analyses that were

 done in the redistricting process, how legal advice was given during the process, and who gave

 such legal advice.

        While none of the deponents have waived the attorney-client privilege, Plaintiffs’ counsel

 has attempted to inquire about privileged materials. For example, Ms. Dean was forced to assert

 privilege throughout her depositions as Plaintiffs’ counsel asked about legal advice that Ms. Dean

 provided to her clients or privileged communications Ms. Dean had with the other staff attorneys

 or outside counsel. Such inquiries invade on the attorney-client relationship, and to publicize them

 would further violate that relationship.

        Of course, such discussions between attorneys and their clients are of such a sensitive

 nature as there are privilege waiver concerns. Out of an abundance of caution and in order to avoid

 any waiver of privilege, House Defendants may need to address issues related to this category of

 information either in a sealed hearing, or if the Panel prefers, in a sealed memorandum after the

 Panel conducts its in camera review. Again, such communications between legislators and staff



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 attorneys are also likely legislatively privileged and, if the Panel issues a separate Confidentiality

 Order protecting such information [ECF No. 308], many if not most of these items would be

 covered by such an Order.

        The following confidentiality designations should be confirmed because they each fall

 under this statutory exemption as correspondence or work product of legal counsel for a public

 body and any other material that would violate attorney-client relationships:

       Emma Dean (House)
            o 12:8 – 21:17, 97:6 – 107:25, 109:24 – 112:15, 122:7 – 125:8, 128:18 – 147:25
       Emma Dean (Congressional)
            o 43:25 – 45:18, 70:10 – 80:14, 83:14 – 86:22; 112:10 – 120:10
       Weston Newton (Congressional)
            o 40:9–24, 111:16 – 114:19
       Chris Murphy (House)
            o Exhibits 7-12 and 14 (Exhibit 14 has since been clawed back by House
               Defendants as outside the relevant time period and privileged)
            o 128:10 – 129:23, 140:8 – 18, 181:8 – 200:17, 268:12 – 270:25, 292:20 – 293:21;
               293:25 – 294:4
       Chris Murphy (Congressional)
            o Exhibits 2, 3, and 6
            o 109:18-22
       Jay Lucas (House)
            o Exhibits 10, 11, and 22
            o 62:8-75:10
       Jay Lucas (Congressional)
            o Exhibit 15 (Exhibit 15 has since been clawed back by House Defendants as
               outside the relevant time period and privileged)
            o 115:21 – 116:23
       Thomas Hauger (House)
            o 65:14 – 66:23, 67:8 – 69:11, 145:6 – 146:3
       Thomas Hauger (Congressional)
            o Exhibits 1 & 4
            o 14:17 – 15:15, 16:1-13, 16:22 – 17:18

                                           CONCLUSION

        Based on the foregoing, House Defendants respectfully request that this Panel confirm all

 of the confidentiality designations at issue because they are protected from disclosure by statute.

                                       [signature page follows]


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                                      Respectfully submitted,

                                       s/ Mark C. Moore
                                       Mark C. Moore (Fed. ID No. 4956)
                                       Jennifer J. Hollingsworth (Fed. ID No. 11704)
                                       Hamilton B. Barber (Fed. ID No. 13306)
                                       Michael A. Parente (Fed. ID No. 13358)
                                       NEXSEN PRUET, LLC
                                       1230 Main Street, Suite 700
                                       Columbia, SC 29201
                                       Telephone: 803.771.8900
                                       MMoore@nexsenpruet.com
                                       JHollingsworth@nexsenpruet.com
                                       HBarber@nexsenpruet.com
                                       MParente@nexsenpruet.com

                                       William W. Wilkins (Fed. ID No. 4662)
                                       Andrew A. Mathias (Fed. ID No. 10166)
                                       Konstantine P. Diamaduros (Fed. ID No. 12368)
                                       NEXSEN PRUET, LLC
                                       104 S. Main Street, Suite 900
                                       Greenville, SC 29601
                                       Telephone: 864.370.2211
                                       BWilkins@nexsenpruet.com
                                       AMathias@nexsenpruet.com
                                       KDiamaduros@nexsenpruet.com

                                       Rhett D. Ricard (Fed. ID No. 13549)
                                       NEXSEN PRUET, LLC
                                       205 King Street, Suite 400
                                       Charleston, SC 29401
                                       Telephone: 843.720.1707
                                       RRicard@nexsenpruet.com
  August 1, 2022
  Columbia, South Carolina             Attorneys for House Defendants




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